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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff, 23-cv-1346 (JSR)

ORDER

TERRAFORM LABS PTE LTD. and DO
HYEONG KWON,

Defendants.

JED S. RAKOFF, U.S.D.J.:

On January 11, 2024, defendant Do Hyeong Kwon moved to
postpone the trial in this case, currently scheduled to begin on
January 29, 2024, until late March of this year, based on his
estimate that he would be available to be present at trial at that
time. ECF No. 161. In a subsequent letter to the Court on January
15, 2024, Kwon represented that “should the Court adjourn the
combined trial of the SEC’s cases against Terraform Labs and Mr.
Kwon to any date after March 18, Mr. Kwon will make no additional
requests for adjournment of the trial date, even if he is still
not able to attend trial on the new date set.” ECF No. 163, at 1.
Kwon’s co-defendant, Terraform Labs Pte. Ltd. (“Terraform”),
informed the Court on January 12, 2024 that it took no position on
the request. On January 15, 2024, the SEC filed a response joining
in the request for an adjournment so that Kwon might be able to

appear at trial. ECF No. 162.
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Despite Kwon’s representation that he has consented to his
extradition from Montenegro, where he is presently being held,
there is no absolute guarantee that he will be released in time
for his appearance at a late March trial. Nevertheless, the Court
will indulge his counsel’s request given their express recognition
that the trial cannot be further postponed. Accordingly, the trial
is hereby moved to March 25, 2024, at 9:30 AM.! No further requests

from any party for any further adjournment will be entertained.

SO ORDERED.
Dated: New York, NY Poll sd Wabobf-
January 16, 2024 py RAKOFF, UWS.D.a.

1 The SEC requested that, if possible, the trial be moved to April
15 to accommodate other commitments of certain of its attorneys,
but also reconfirmed that it could be available for a late March
trial if necessary. Unfortunately, the Court’s other commitments
render the April 15 date an impossibility.
